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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

MAGGIE SMITH, et al,
Plaintiffs,
v. Civil Action No. 15-737 (RCL)
DISTRICT OF COLUMBIA,

Defendant.

 

 

ORDER

Pursuant to Fed. R. Civ. P. 26(c), and it appearing that discovery is likely
to involve the disclosure of Confidential Information, IT IS STIPULATED AND
ORDERED that:
I. Confidential Information

A. Information Subject To This Protective Order: The following
categories of information produced by a party may be designated as
CONFIDENTIAL under this Protective Order:

1. personal information, including, but not limited to, an
individual’s home address, telephone number, date of
birth, social security number, all personal information that
pertains to the financial affairs and health (physical or
mental) of the plaintiffs, and/or any other personal

information unique to such individual:

il. information protected by or specifically prohibited from
release by statute or regulation; and

iil. non-public records relating to arrests and_ police
investigations.
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B. As set forth below, information and things that are stamped
“CONFIDENTIAL” and meet the definition of material that falls within the
definition of Section IA shall not be disclosed by any party for any purpose
other than discovery, trial, and any appeals in this action.

C. Notwithstanding the foregoing, to the extent that any database
material is utilized by the Parties or experts retained by the Parties to prepare
opinions or statistical analyses, summaries, or compilations that do not
disclose any personally-identifiable confidential information regarding
individuals, said opinions, statistical analyses, summaries, or compilations
will not be deemed CONFIDENTIAL and may be included as part of the public
record in this case.

Il. Timing and Classification of Confidential Information

A. Marking of Documents of Things

 

i. Any party wishing to designate information as
CONFIDENTIAL INFORMATION shall at the time of
production stamp or otherwise mark the produced
document or other thing with the word(s) “CON-
FIDENTIAL” or “CONFIDENTIAL INFORMATION.”

a. If a party produces data from a database, such as
EvidenceOnQ (Exported Data), it may designate data
within a field or fields of the Exported Data as
CONFIDENTIAL, if the data in the field satisfies the

definition set forth in Section IA. Such CONFIDENTIAL
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iii.

iv.

data will fall within the terms of this Order. Any
compilation or subset of the Exported Data that contains
data from fields marked as CONFIDENTIAL can only be
disclosed as specificed in this Order. Any document
containing Exported Data designated as CONFIDENTIAL
shall be treated as CONFIDENTIAL.

Any party wishing to designate information provided by
another party or a non-party as CONFIDENTIAL shall
submit to the other Parties, within twenty business days
following production or disclosure, a written designation of
the documents or things containing such information.
During the twenty business days following production by a
party, or non-party, all such documents and things shall be
deemed to contain and/or constitute CONFIDENTIAL
INFORMATION.

The Parties shall make a good-faith effort to designate
CONFIDENTIAL INFORMATION properly and with the
appropriate classification at the time of production.
However, inadvertent or unintentional disclosure by any
party of CONFIDENTIAL INFORMATION without any, or
the appropriate, classification regardless of whether the
CONFIDENTIAL INFORMATION was designated at the

time of disclosure, shall not be deemed a waiver of a party’s
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claim of confidentiality, either as to a specific document or
information, and the Parties shall, upon notice, treat such
CONFIDENTIAL INFORMATION according to the correct
designation and classification. A receiving party shall
make a good faith effort to locate and mark appropriately
any CONFIDENTIAL INFORMATION upon receipt of
such notice.
Ill. Handling of Confidential Information

A. CONFIDENTIAL INFORMATION will be treated during this
action, including appeal, as follows:

All CONFIDENTIAL INFORMATION shall be treated as proprietary,
and shall be disclosed or provided only to: (1) counsel who are attorneys of
record (including such counsel’s partners, shareholders, associates, associated
counsel, paralegal, interns, secretarial, technical and clerical personnel); (2)
experts employed by such counsel for consultation or to render expert reports
under Fed. R. Civ. P. 26(a)(2) (and the secretarial and clerical personnel of such
experts); (3) technical consultants or vendors and all related staff retained to
handle discovery including but not limited to electronic discovery; and (4) court
personnel, certified court reporters and the Parties’ respective copy vendors
and other litigation support vendors. Any information designated
“CONFIDENTIAL?” by the producing party shall be treated as proprietary, and
shall not be used or disclosed by any receiving party for any purpose, other

than as specified during discovery, trial, and/or any appeal in this action.
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B. Information

All persons (other than court personnel and the persons identified in
Section III.A(1) above) authorized to have access to CONFIDENTIAL
INFORMATION under this Protective Order shall sign a statement
acknowledging their agreement to the terms of this Protective Order in the
form of Exhibit A.

IV. Challenges to Confidentiality Designations

A. If any party disagrees at any stage with the designation of any
information as CONFIDENTIAL, the Parties shall first try to resolve the
dispute in good faith informally. Any receiving party may request that the
producing or designating party withdraw the CONFIDENTIAL designation
regarding any information. Any such request shall be made in writing, served
on counsel for the producing or designating party, and shall identify: (a) the
CONFIDENTIAL INFORMATION that the receiving party contends is
improperly designated; and (b) the basis for the receiving party’s objection(s)
to the designation.

B. If the Parties cannot resolve their dispute informally, the
receiving party may object to the designation by motion before the Court. The
burden of proving the confidentiality of the designated information shall be
borne by the party that produced the information and/or designated it
CONFIDENTIAL. If a motion is filed, the initial CONFIDENTIAL designation
shall remain in place until the Court rules on such motion and thereafter shall

be governed by the Court’s ruling. If the Parties cannot resolve their dispute
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informally, and a party elects not to file a motion with the Court, the initial
CONFIDENTIAL designation shall remain in place.

C. The acceptance by any party of any information designated
CONFIDENTIAL shall not constitute evidence, an admission or concession
that the information is confidential or proprietary.

V. Confidential Information at Depositions

A. Other than Court personnel and Court reporters, only the Parties,
counsel of record for the Parties, the witness (including his or her attorney),
and experts who have signed the Exhibit A agreement may be present at any
examination concerning CONFIDENTIAL INFORMATION of another party
or a third party.

B. A party may designate as CONFIDENTIAL any information,
testimony or exhibit disclosed or obtained during a deposition that meets the
definition of Section IA by indicating on the record during the deposition that
such is CONFIDENTIAL and subject to this Protective Order. Whenever any
information designated as CONFIDENTIAL that meets the definition of
Section IA is marked as an exhibit during a deposition, the exhibit shall be
separately bound and placed in a _ sealed envelope bearing the
CONFIDENTIAL designation, unless the Parties stipulate otherwise in
writing prior to the deposition or at the deposition on the record. Any party
who objects to any CONFIDENTIAL designation made at or during a
deposition must note the objection on the record. The CONFIDENTIAL

designation of material that meets the definition of Section IA shall remain in
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place, and the objecting party shall be barred from publicly disclosing the
information, testimony, transcript or exhibit designated as CONFIDENTIAL
without the prior approval of the Court or the withdrawal of the designation
by the designating party.

C. All deposition transcripts shall be treated as CONFIDENTIAL
INFORMATION subject to the Protective Order for twenty business days after
receipt of each of the transcripts. Notwithstanding the passage of twenty
business days, if opposing counsel has not disseminated information subject to
this Protective Order, the right to so designate shall remain, subject to
challenge. If such a challenge is made, the party allowing the twenty business
days to pass must show that the information has not become part of the public
domain.

D. Deposition transcripts, testimony or exhibits designated as
CONFIDENTIAL shall only be disclosed to the named Parties, their counsel of
record, their experts who have signed the Exhibit A agreement, the Court and
its personnel, and the court reporter. No third party shall be allowed access to
any deposition transcript, testimony or exhibit designated as CONFIDENTIAL
unless he or she first executes the declaration attached as Exhibit A,
acknowledging and agreeing to be bound by the terms of this Protective Order.
VI. Confidential Information in Court Filings |

A. Information designated as “CONFIDENTIAL” under this
Protective Order that meets the definition of Section IA does not lose its

designation if that information is subsequently filed with the Court by any
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designating party, non-designating party or a third party, whether that
submission is made by written motion, pleading, memorandum or any other
submission to the court, including, without limitation, any demonstratives,
attachments, transcript, appendices, and/or exhibits submitted to the Court.
B. All transcripts, depositions, exhibits, answers to interrogatories,
and other information previously designated CONFIDENTIAL under this
Protective Order and filed with the Court in accordance with Fed. R. Civ. P.
5.2(d) by any party or third party, or any pleading, memorandum or other
submission to the Court purporting to discuss, reproduce, summarize or
paraphrase any such CONFIDENTIAL INFORMATION, shall be filed
electronically under seal or, if filed in paper format, in sealed envelopes or
other appropriate sealed containers pursuant to LCvR 5.1G) and Part II.H. of
the Clerk’s Office General Information and Civil Filing Procedures and on
which shall be endorsed the caption of this litigation, an indication of the
nature of the contents, the words “CONFIDENTIAL INFORMATION” and
‘DOCUMENTS SUBJECT TO PROTECTIVE ORDER,” and a statement in
substantially the following form: “This envelope, containing documents which
are filed in this case by (name or party), is not to be opened nor are the contents
to be displayed or revealed except by order of the Court or consent of all the
Parties.”
VI. Use of Confidential Information in Open Court

A. CONFIDENTIAL INFORMATION does not lose its designation

as such if that information is subsequently offered during hearings, at trials,
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or otherwise in open court, by any party or a third party, whether elicited or
presented through argument and/or objections in open court, statements to the
jury, direct examination, cross-examination and/or redirect examination, or
through any demonstratives, attachments, transcripts appendices, and/or
exhibits offered in open court. |

B. The use of CONFIDENTIAL INFORMATION during hearings, at
the trial, or otherwise in open court shall be subject to such protection as the
Court shall determine. Nothing in this Protective Order shall be deemed a
waiver of any right to object on any ground to the admission in evidence of any
CONFIDENTIAL INFORMATION. A party that intends to introduce its own
CONFIDENTIAL INFORMATION at a hearing or trial shall be responsible for
taking appropriate measures with the Court to maintain its confidentiality. If
a party intends to introduce an opponent’s CONFIDENTIAL INFORMATION,
it shall notify the opponent in writing before it intends to introduce the
opponent’s CONFIDENTIAL INFORMATION. If the opponent desires to
maintain the confidentiality of its material, it shall be responsible for taking
appropriate measures to maintain its confidentiality.
VIII. Exclusion of Public Domain Information

A. Nothing in this Protective Order shall preclude any party to the
lawsuit, their attorneys or any other person from disclosing or using, in any
manner or for any purpose, any information in the public domain, if such
information is lawfully obtained from another source, such as a third party

having the right to disclose such information.
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IX. Non-Waiver of Privileges and Objections

A. Nothing in this Protective Order shall be construed to require the
production of CONFIDENTIAL INFORMATION privileged or otherwise
protected from disclosure (Protected Material). The entry of this Protective
Order shall not constitute a waiver by any party of any objection to the
disclosure or production of any information or material during discovery.

B. Nothing in this Protective Order shall be construed to mean that
the production of CONFIDENTIAL INFORMATION (in whole or in part)
constitutes either: (i) an admission by any party that the produced information
is relevant, authentic, or properly produced, or Gi) a waiver of any right
properly to withhold from production any other document.

C. Nothing in this Protective Order shall prevent any person from
asserting the attorney-client privilege, the work-product doctrine, or any
privilege or immunity as to any discovery, including any discovery that may
have been inadvertently produced.

D. The production or disclosure of an attorney-client privileged,
attorney work product, or other protected document or information medium
shall not be deemed a waiver of the privilege, work product, or other protection
or immunity from discovery by the producing party in this or any subsequent
state or federal proceeding under Federal Rule of Evidence 502, regardless of
the circumstances of disclosure. If any party learns of the production or
disclosure of Protected Material by any other party, that party shall provide

written notice of such production or disclosure within three days. Upon such

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notice, the receiving party shall immediately return or destroy the Protected
Material. Nothing shall be construed to prevent the party returning the
disclosed Protected Material from seeking production of any documents under
the Federal Rules of Civil Procedure.

X. Miscellaneous

A. Nothing in this Protective Order shall be construed as limiting or
otherwise restricting a partys use of its own CONFIDENTIAL
INFORMATION for any purpose or as requiring District employees to sign an
acknowledgement prior to obtaining such information.

B. This Protective Order shall survive the final termination of this
litigation and shall continue to apply to all CONFIDENTIAL INFORMATION
that has not properly become a matter of public record. Following final
termination of this litigation, this Court shall retain jurisdiction over the
Parties and all persons who received access to CONFIDENTIAL
INFORMATION under the terms of this Protective Order.

C. This Protective Order shall be binding upon the Parties, upon
their attorneys, and upon the Parties and their attorneys’ successors,
executors, personal representatives, administrators, heirs, legal
representatives, assigns, subsidiaries, divisions, officers, directors, employees,
agents, and independent contractors, and other persons or organizations over
which they have control.

D. Nothing in this Protective Order shall bar or otherwise restrict

any attorney from rendering advice to the attorney’s party-client regarding

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this action, and in the representation, relying upon an examination of
CONFIDENTIAL INFORMATION: provided, however, that in rendering such
advice and in otherwise communicating with the party-client, the attorney
shall not disclose the proprietary substance of any CONFIDENTIAL
INFORMATION nor the source of any CONFIDENTIAL INFORMATION to
anyone not authorized to receive such documents, things, materials or
information under the terms of this Protective Order.

E. Within thirty days after the final termination, including all
appeals, and unless otherwise required by law, the attorneys for each party
shall assemble and return to the opposing party all CONFIDENTIAL
INFORMATION produced by the opposing party or shall destroy all copies
which respective Parties have in their possession, custody, or control. The
attorneys for the Parties may retain all pleadings and litigation documents,
including exhibits and their own memoranda, containing CONFIDENTIAL
INFORMATION but such litigation documents and memoranda shall be used
only to preserve a file on this action, and shall not without the written
permission of the opposing party or an Order of this Court be disclosed to
anyone other than the outside attorneys to whom such information was
disclosed under this Protective Order during this action.

F. In the event that a party seeks discovery from a third party to
this action, that third party may invoke the terms of this Protective Order in
writing to all Parties to this suit and produce any such discovery in accordance

with, and subject to the terms of this Order.

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Dated:__//7¢ [avze G
THE HONORABLE ROYCE C. LAMBERTH
Judge, United States District Court
for the District of Columbia

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EXHIBIT A
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

MAGGIE SMITH, et al,
| Plaintiffs,

v. Civil Action No. 15-737 (RCL)

DISTRICT OF COLUMBIA,

Defendant.

 

 

ACKNOWLEDGEMENT OF CONFIDENTIALITY

I understand that confidential documents, testimony, and information may be
revealed to me for purposes of the above-captioned lawsuit. I have been advised that, by
agreement among the Parties, as ordered by the Court, such documents, testimony, and
information may not be used for any purposes other than the prosecution or defense of
this lawsuit.

I certify that I have read the Protective Order. I agree to maintain the
confidentiality of any documents, testimony, and information provided to me and to abide
by the terms of the Protective Order.

I have been advised that any unauthorized use or disclosure by me of any
confidential documents, testimony, and information will be treated as a breach of the
Protective Order and I may be liable for damages and subject to sanctions. I agree to

subject myself to the jurisdiction of the Court for enforcement of the Agreement.

Dated:

 

PRINT NAME

 

SIGNATURE
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